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                          IN THE UNITED STATES DISTRICT COURT
                              DISTRICT OF SOUTH CAROLINA

 LaKrystal Coats, as Personal Representative             C.A. No.: 1:17-cv-02930-TLW-SVH
 of the Estate of Demetric Cowan,

                     Plaintiff,
                                                    MOTION FOR SUMMARY JUDGMENT
 -vs-                                               ON BEHALF OF DEFENDANTS, SIDNEY
                                                     MONTGOMERY, ROY MURRAY AND
 Ray Pope, in his individual capacity, FNU             TONY DAVIS IN HIS OFFICIAL
 Nichols, in his individual capacity, FNU                CAPACITY AS SHERIFF OF
 Cardarelli, in his individual capacity, FNU              GREENWOOD COUNTY
 White, in his individual capacity, Gerald
 Brooks, in his official capacity as Chief of
 Police, Sidney Montgomery, in his individual
 capacity, Roy Murray, in his individual
 capacity, Pamela Osborne, in her individual
 capacity, and Tony Davis in his official
 capacity as Sheriff of Greenwood County,

                   Defendants.



         Pursuant to Rule 56 of the Federal Rules of Civil Procedure, the above defendants, by and

through undersigned counsel, respectfully move for an Order of Court granting Summary Judgment

in their favor on the following grounds:

I.       THERE IS NO EVIDENCE OR TESTIMONY TO SUPPORT THE CLAIM THAT
         EARLIER MEDICAL INTERVENTION WOULD HAVE OR COULD HAVE
         PREVENTED COWAN’S DEATH.

II.      THE PLAINTIFF HAS FAILED TO PRESENT ANY EXPERT TESTIMONY
         TO SUPPORT A CLAIM

III.     THE PLAINTIFF HAS FAILED TO PROVIDE EVIDENCE OF ANY PERSONAL
         INVOLVEMENT THAT COULD GIVE RISE TO LIABILITY UNDER SECTION
         1983

IV.      THE DEFENDANTS CANNOT BE HELD LIABLE UNDER THE DOCTRINE
         OF RESPONDEAT SUPERIOR
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V.      THE ALLEGATIONS OF THE PLAINTIFF’S COMPLAINT DO NOT RISE TO
        THE LEVEL OF A CONSTITUTIONAL DEPRIVATION OF THE PLAINTIFF’S
        CONSTITUTIONAL RIGHTS TO MEDICAL CARE AND/OR HEALTH CARE

VI.     QUALIFIED IMMUNITY BARS THE PLAINTIFF’S CLAIM AND THIS SUIT

VII.    THE PLAINTIFF HAS NO COGNIZABLE CLAIM AGAINST THE
        DEFENDANTS FOR NEGLIGENCE/GROSS NEGLIGENCE BASED ON STATE
        LAW

VIII. TO THE EXTENT THE PLAINTIFF ALLEGES ANY STATE LAW CLAIMNS
      AGAINST SIDNEY MONTGOMERY AND ROY MURRAY, THEY CANNOT
      SURVIVE

IX.     THE PLAINTIFF’S CLAIM FOR INTENTIONAL INFLICTION OF
        EMOTIONAL DISTRESS IS BARRED BY THE TORT CLAIMS ACT

X.      DEFENDANTS MONTGOMERY, MURRAY AND DAVIS ARE ENTITLED TO
        SUMMARY JUDGMENT ON THE CLAIM FOR LOSS OF FILIAL SERVICES.


                                            Respectfully submitted,

                                            CHAPMAN, HARTER & HARTER, P.A.



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February 7, 2019



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